                                            UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF ARIZONA



  IN RE:                                                             §                            CASE NO.          17-14851
  CLA PROPERTIES SPE, LLC                                            §

  DEBTORS(S),                                                        §                             CHAPTER 11

                                          NOTICE OF APPEARANCE AND REQUEST
                                         FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    LEWISVILLE ISD                            DALLAS COUNTY

 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service

I do hereby certify that on 9th day of April, 2019, a copy of the above and foregoing has been this date served electronically or

mailed to the parties listed below:

    MICHAEL W. CARMEL                            TRUSTEE (PHOENIX)
    80 E. COLUMBUS AVE                           OFFICE OF THE U.S. TRUSTEE
    PHOENIX, AZ 85012-4965                       230 NORTH FIRST AVENUE, SUITE
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                                                         By: /s/ Elizabeth Weller
                                                              Elizabeth Weller
                                                              SBN: 00785514 TX




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